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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


          -v-
                                                                No. 14-cr-775 (RJS)
                                                                     ORDER
 JONATHAN READ,

                               Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

         As stated in the Court’s previous order, a conference on Supervisee Jonathan Read’s

charged specifications of violation of his term of supervision will take place on November 13,

2020 at 9:00 a.m. (Doc. No. 65.) In advance of that conference, the parties have submitted a joint

letter, proposing a disposition of the matter whereby Read would admit to some but not all of those

charged specifications. (Doc. No. 66.) Among the specifications the parties suggest be dismissed

are those that concern Read’s August 2020 arrest for possession of 7.7 grams of crack cocaine.

(Doc. Nos. 62, 66.) The Court is not prepared to grant that proposed disposition. Accordingly, if

Read does not admit to all the charged specifications at the November 13th conference, the Court

will schedule an evidentiary hearing on the matter.



SO ORDERED.

Dated:          November 7, 2020
                New York, New York


                                                      RICHARD J. SULLIVAN
                                                      UNITED STATES CIRCUIT JUDGE
                                                      Sitting by Designation
